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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

In re                                                       Case No. 23-10003

Ryan R. Francis                                             Chapter 13
                      Debtor


MOTION FOR LEAVE TO SELL 62 HOLMES ROAD, DEDHAM, MA 02026 AND CLEAR
  OF ALL LIENS, CLAIMS, AND ENCUMBRANCES TO NATACHA DORVELUS

        The Debtor in the above-entitled matter moves this Honorable Court for leave to sell the

home at 62 Holmes Road, Dedham, MA 02026 (“Real Property”). In support of this motion, the

Debtor states as follows

1. This case was commenced on January 4, 2023, by filing a Voluntary Petition for Relief under

    Chapter 13 of the United States Bankruptcy Code.

2. Debtor Ryan R. Francis owns the real estate and would like to sell the property.

3. The Debtor has a buyer for said property and entered a Purchase and Sale Agreement. See

    Exhibit A.

4. Pursuant to the Purchase and Sale Agreement, the Debtors have agreed, subject to the

    approval of the Bankruptcy Court, to sell the Property to Natacha Dorvelus (the “Purchaser”)

    for a total purchase price of $515,000.00. As set forth in the Agreement, the Purchaser paid a

    $1,000.00 deposit with the contract to purchase. The balance of the Purchase Price will be

    paid upon the closing of the Sale. The Debtor will sell the Property with quitclaim

    covenants.

5. The Parties have tentatively scheduled the closing for February 15, 2023, or reasonably

    thereafter.

6. Proceeds shall be distributed as follows:
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       A. Normal closing costs including property taxes, municipal charges, heating oil

            credits, water and sewer charges, broker fees, documentary stamps, seller’s

            recording fees, courier fees, and other fees that are normally paid by members of

            the Real Estate Bar Association for Massachusetts during a closing. and standard

            adjustments between the parties.

       B. Pay prepetition first position mortgage held by Wilmington Trust National

            Association recorded in the Norfolk County Registry of Deeds at Book 19063 Page

            244 in full. The Debtor will obtain a payoff prior to the closing.

       C. Sale is free and clear of prepetition judicial lien held by American Builders and

            Contract Supply.

       D. Remaining proceeds exempt up to $500,000.00 pursuant to a recorded declaration of

            homestead. The Debtor does not anticipate any proceeds over the exemption will be

            available to unsecured creditors

7. The Property shall be sold free and clear of all claims, liabilities, equities, exceptions,

   contracts, options, obligations, encumbrances, charges, rights of third parties (express or

   implied), restrictions, mortgages, security interests, and other liens or liabilities of any nature.

   Any perfected, enforceable, valid liens shall attach to the balance of the proceeds of the sale,

   after deducting the payment for any closing costs as set forth in the Agreement, in

   accordance with the priorities established under applicable law.

8. The Debtor believes that the purchase price is fair and reasonable, and that the Property is not

   likely to attract an offer higher than the Purchase Price at this time. The proposed private

   sale is in the estate’s best interest because the Debtor obtained a fair and reasonable price for

   the Property and has avoided the additional cost of conducting a public sale.
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9. The Debtor made a good faith effort to market the property and believes this offer represents

   the highest price she would be able to receive.

10. The Debtor requests this Court’s approval of the proposed Notice of Intended Private Sale of

   Estate Property, Deadline for Submitting Objections and Higher Offers and Hearing Date

   (the “Notice”) attached as “Exhibit B.”

11. Upon approval of the Court, the Debtor shall serve the Notice (as supplemented by this

   Court) on all creditors, parties in interest, including the United States Trustee, parties who

   have filed appearances and requested service of all pleadings and notices, and parties

   regarded by the Seller as potential purchasers.

12. Finally, the Debtor requests that this court waive the 14-day stay of the order authorizing the

   sale imposed by Fed. R. Bankr. 6004(h) due to the February 14, 2023 anticipated closing

   date.

   WHEREFORE, the Debtor respectfully requests that the Court enter an Order:

1. Approving the Notice of Intended Private Sale and manner of service as set forth above;

2. Directing that the Property be sold free and clear of all claims, liabilities, equities,

   exceptions, contracts, options, obligations, encumbrances, charges, rights of third parties

   (express or implied), restrictions, mortgages, security interests, and other liens, and that any

   perfected, enforceable valid liens shall attach to the balance of the proceeds of the sale , after

   deducting the payment for any closing costs as set forth in the Agreement, in accordance with

   the priorities established under applicable law;

3. Authorizing the Debtor to utilize the proceeds of the Sale, to the extent necessary, to pay

   closing costs associated with the Sale as set forth in the Agreement;
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4. Authorizing and empowering the Debtor to take such further actions as are necessary,

   appropriate, or desirable to consummate the transactions provided for, or contemplated in,

   the Agreement;

5. Finding the buyer is a good faith buyer under 11 U.S.C. 363(m) and waiving the 14-day stay

   of the order allowing sale in Fed. R. Bankr. P 6004(h);

6. Ordering the Debtor to provide the closing statement to the Chapter 13 Trustee; and

7. Granting such other relief as the Court deems just and proper.


                                                    Respectfully submitted,
                                                    Through counsel,

Dated: January 16, 2023                               /s/ Thomas C. Benner
                                                    Thomas C. Benner, Esq.
                                                    Benner Law, P.C.
                                                    33 Samoset Street
                                                    Plymouth, MA 02360
                                                    (508) 746-8030
                                                    BBO# 655483
                                                    tbenner@tbennerlaw.com
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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS

In re                                                      Case No. 23-10003

Ryan R. Francis                                            Chapter 13
                      Debtor


  MOTION FOR LEAVE TO SELL 62 HOLMES ROAD, DEDHAM, MA 02026 FREE AND
 CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES TO NATACHA DORVELUS


       WHEREAS the Debtor filed an motion for leave to sell the real property at 62 Holmes
Road, Dedham, MA (“REAL PROPERTY”); and

        WHEREAS after notice and opportunity for hearing, no interested party filed an
objection to Debtor’s Motion to Sell; and

        WHEREAS no party made a counteroffers or higher bid;

        WHEREAS good cause appears for allowing the motion; and

       WHEREAS the Debtor agreed to provide the Chapter 13 Trustee with a copy of the
closing statement within ten days of closing;

        NOW THEREFORE it is ordered that:

    1. Pursuant to 11 U.S.C. 363(m), the buyers entered the transaction in good faith and the 14-
       day stay of this order is waived;

    2. the motion is allowed and the REAL PROPERTY may be sold to Natacha Dorvelus;

    3. The Debtor shall within 14 days of the closing provide the Chapter 13 Trustee with a
       copy of the settlement statement and amend the Chapter 13 Plan.


Dated: ________                             _______________________________
                                            Honorable Janet E. Bostwick
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re                                                        Case No. 23-10003

Ryan R. Francis                                              Chapter 13
                       Debtor


 MOTION FOR LEAVE TO SELL 62 HOLMES ROAD, DEDHAM, MA 02026 FREE AND
 CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES TO NATACHA DORVELUS

 2/15/2023             IS THE DATE OF THE PROPOSED SALE

______________         IS THE DATE BY WHICH OBJECTIONS OR COUNTERFFERS MUST BE
                       MADE


NOTICE IS HEREBY GIVEN, pursuant to 11 U.S.C. § 363, Fed. R. Bankr. P. 2002(a)(2) and
6004, and MLBR 2002-5 and 6004-1, that the Debtor intends to sell at private sale, the debtor’s
right, title and interest in certain property of the estate.


PROPERTY TO BE SOLD: 62 Holmes Road, Dedham, MA 02536


THE OFFER: The Debtor has received an offer to purchase the property for the sum of
$515,000.00.


THE PROPOSED BUYER: The proposed buyer isNatacha Dorvelus . The relationship of the
proposed buyers to the Debtor is: None.

THE SALE DATE: The sale shall take place on or before _February 15, 2023 . The proposed
buyers paid a deposit in the sum of $ 1,000.00 with the Contract to Purchase. The terms of the
proposed sale are more particularly described in a Motion for Order Authorizing and Approving
Private Sale of Property of the Estate (the “Motion to Approve Sale”) filed with the Court on
January 17, 2023 and a written Purchase and Sale Agreement dated January 10, 2023. The
Motion to Approve Sale and the Purchase and Sale agreement are available at no charge upon
request from the undersigned.

SALE FREE AND CLEAR OF LIENS: The property at 62 Holmes Road, Dedham, MA
02026 will be sold free and clear of all liens, claims and encumbrances. Any perfected,
enforceable valid liens shall attach to the proceeds of the sale according to priorities established
under applicable law.
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COUNTEROFFERS OR OBJECTIONS: Any objections to the sale and/or higher offers must
be filed in writing with the Clerk, United States Bankruptcy Court at J.W. McCormack Post
Office & Court House, 5 Post Office Square, Clerk’s Office, Boston, MA 02109 on or before -
_______________ at 4:30 PM (the “Objection Deadline”). A copy of any objection or higher
offer also shall be served upon the undersigned. Any objection to the sale must state with
particularity the grounds for the objection and why the intended sale should not be authorized.
Any objection to the sale shall be governed by Fed. R. Bankr. P. 9014.

Through this Notice, higher offers for the Property are hereby solicited. Any higher offer must
be accompanied by a cash deposit of $____1,000.00____ in the form of a certified or bank check
made payable to the undersigned. Higher offers must be on the same terms and conditions
provided in the Purchase and Sale Agreement, other than the purchase price.

HEARING: A hearing on the Motion to Approve Sale, objection or higher offers is scheduled
to take place on _____________ at _________ AM/PM before the Honorable Janet E.
Bostwick, United States Bankruptcy Judge, ___Courtroom _____. Any party who has filed an
objection or higher offer is expected to be present at the hearing, failing which the objection may
be overruled or the higher offer stricken. The Court may take evidence at any hearing on
approval of the sale to resolve issues of fact. If no objection to the Motion to Approve Sale or
higher offer is timely filed, the Court, in its discretion, may cancel the scheduled hearing and
approve the sale without a hearing.

At the hearing on the sale the Court may 1.) Consider any requests to strike a higher offer, 2.)
Determine further terms and conditions of the sale, 3.) Determine the requirements for further
competitive bidding, and 4.) Require one or more rounds of sealed or open bids from the original
offeror and any other qualifying offeror.

DEPOSIT: The deposit will be forfeited to the estate if the successful purchaser fails to
complete the sale by the date ordered by the Court. If the sale is not completed by the buyer
approved by the Court, the Court, without further hearing, may approve the sale of the Property
to the next highest bidder.

Any questions concerning the intended sale shall be addressed to the undersigned.

                                                     Respectfully submitted,
                                                     Through Counsel,

Dated: January 16, 2023                                /s/ Thomas C. Benner
                                                     Thomas C. Benner, Esq.
                                                     Benner Law, P.C.
                                                     33 Samoset Street
                                                     Plymouth, MA 02360
                                                     (508) 746-8030
                                                     BBO# 655483
                                                     tbenner@tbennerlaw.com
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                                 CERTIFICATE OF SERVICE

        I, Thomas C. Benner, certify that on January 16, 2023 a true and accurate copy of the
foregoing Motion was served on the following parties via first class mail, postage pre-paid or
electronically.


By electronic mail using Court’s CM/ECF system:

John Fitzgerald, Esq., Office of the United States Trustee
Carolyn Bankowski, Esq., Chapter 13 Trustee


By regular mail, postage pre-paid:

Ryan R. Francis
62 Holmes Road
Dedham, MA 02536

Attached list of service recipients


                                             /s/ Thomas C. Benner
                                             Thomas C. Benner
                                             Benner Law, P.C.
                                             33 Samoset Street
                                             Plymouth, MA 02360
                                             (508) 746-8030
                                             BBO# 655483
                                             tbenner@tbennerlaw.com
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Alisa Katz Campbell, Esq.                   American Builders & Contractor
                                               Document           Page 21  Supply DBA
                                                                              of 22       Adrienne T. Kimball
7 Cabot Pl                                  ABC Supply Co, Inc.                           Adrienne T. Kimball Revocable Trust
Stoughton, MA 02072-4631                    1 Abc Pkwy                                    20 Cumberland St
                                            Beloit, WI 53511-4466                         Boston, MA 02115-5306


 American Profit Recovery                   Beacon Sales Acquisition Inc                  American InfoSource
 34505 W 12 Mile Rd Ste 333                 DBA Beacon Sales Company                      4515 N Santa Fe Ave
Farmington, MI 48331-3288                   1150 W Chestnut St                            Oklahoma City, OK 73118-7901
                                            Brockton, MA 02301-5591


Daniel H. Conroy, Esq.                      Dental Specialties Inc                        Capital One
Kenney & Sams PC                            245 Washington St                             PO Box 30285
144 Turnpike Rd                             Dedham, MA 02026-1826                         Salt Lake City, UT 84130-0285
Southborough, MA 01772-2121


Discover Bank                               Edfinancial Services L                        Department of Treasury
PO Box 30939                                120 N Seven Oaks Dr                           Internal Revenue Service
Salt Lake City, UT 84130-0939               Knoxville, TN 37922-2359                      PO Box 7346
                                                                                          Philadelphia, PA 19101-7346


James Thomas Kinder, Esq                    Jonathan H Allen, Esq                         Hibu, Inc
9 Whiting Rd                                Peskin Courchesne & Allen PC                  90 Merrick Ave Ste 530
Dover, MA 02030-2452                        1391 Main St Ste 201                          East Meadow, NY 11554-1575
                                            Springfield, MA 01103-1642


Mass. Dept of Revenue                       Medical Payment Data                          Laurence K Richmon & Associates PC
PO Box 9564                                 PO Box 94498                                  1419 Hancock St
Boston, MA 02114-9564                       Las Vegas, NV 89193-4498                      Quincy, MA 02169-5250



 National City Mortgage                     Nissan Inf Lt                                 Military Star
 dba Commonwealth United Mrtg Co            PO Box 660366                                 3911 S Walton Walker Blvd
1600 Falmouth Rd Ste 14                     Dallas, TX 75266-0366                         Dallas, TX 75236-1509
Centerville, MA 02632-2939


 Pace Representatives Inc                   (p)PARK COMMUNITY CREDIT UNION                Norwood Urgent Care
 1 Rockdale St Ste 200                      ATTN BANKRUPTCY                               103 Providence Highway Rte # 1-S
Braintree, MA 02184-1770                    2515 BLANKENBAKER PARKWAY                     East Walpole, MA 02032-1512
                                            LOUISVILLE KY 40299-2465


Philip L. Elker, Esq                        (p)PORTFOLIO RECOVERY ASSOCIATES LLC          Park Communtiy Credit Union
PO Box 1241                                 PO BOX 41067                                  1 Clarks Hl Ste 302
Patagonia, AZ 85624-1241                    NORFOLK VA 23541-1067                         Framingham, MA 01702-8172



                                                                                          Smith Levenson Cullen & Aylward
                                                                                          5 Essex Green Dr Ste 6
                                                                                          Peabody, MA 01960-2914
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The Garland Company                        Tuffs Med Center
                                              Document           Page 22 of 22         Verizon
3800 E 91st St                             800 Washington St                           500 Technology Dr
Cleveland, OH 44105-2197                   Boston, MA 02111-1552                       Weldon Spring, MO 63304-2225



Wayne Richard & Hurwitz                    Wilmington Trust National Association       Yellowbook Sales & Distribution
35 Braintree Hill Park Ste 201             c/o Planet Home Lending LLC                 90 Merrick Ave Ste 530
Braintree, MA 02184-8708                   321 Research Pkwy Ste 303                   East Meadow, NY 11554-1575
                                           Meriden, CT 06450-8342


 Park Community Credit Union           Portfolio Recovery Associates LLC               Ryan R. Francis
 PO Box 18630                          Attn: Bankruptcy                                63 Holmes Rd
 Louisville, KY 40261-0630             PO Box 41067                                    Dedham, MA 02026-5309
                                       Norfolk, VA 23541-1067
